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                         UNITED STATES DISTRICT COURT
                            DISTRICT OF NEW JERSEY



 DONALD J. TRUMP FOR PRESIDENT,
 INC., REPUBLICAN NATIONAL
 COMMITTEE, NEW JERSEY                   DOCKET NO. 3:20-cv-10753
 REPUBLICAN STATE COMMITTEE,

      Plaintiffs,

 v.                                      NOTICE OF MOTION TO INTERVENE
                                              PURSUANT TO F.R.C.P. 24
 PHILIP D. MURPHY, in his official           AND IN THE ALTERNATIVE
 capacity as Governor of New Jersey,       TO SUBMIT A BRIEF AS AMICUS
 TAHESHA WAY, in her official capacity    CURIAE PURSUANT TO F.R.C.P. 29
 as Secretary of State of New Jersey,

      Defendants.


To:

 Thomas R. McCarthy, Esq.                Michael L. Testa Jr., Esq.
 Consovoy McCarthy PLLC                  Testa Heck Testa & White, P.A.
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       PLEASE TAKE NOTICE that on a time and date to be assigned by the Court, the

undersigned, attorney for Proposed Intervenor Atlantic County Democratic Committee, shall move

for an Order of the Court before the Honorable Michael A. Shipp, District Court Judge, of the United

States District Court of New Jersey, at the Clarkson S. Fisher Building and U.S. Courthouse, located

at 402 East State Street, Room 2020, Trenton, New Jersey 08608, for an Order of the Court

permitting the Atlantic County Democratic Committee to intervene in the above referenced matter

pursuant to F.R.C.P. 24(b)(1)(B) in opposition to Plaintiffs’ requested injunctive relief, or in the

alternative, should the Proposed Intervenor’s initial requested relief be denied, for permission to

submit a brief as amicus curiae in the above matter pursuant to F.R.C.P. 29.

       In support thereof, Proposed Intervenor Atlantic County Democratic Party intends to rely

upon the Certification of its chairman, Michael Suleiman, and the Letter Brief enclosed herewith.

       Oral argument is not requested unless this matter is opposed. Further, a Proposed Form of

Order is enclosed with this submission.




                                                        s/RDH
Date: August 20, 2020                         By:       __________________________________
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